
[ t CANNIZZARO, J.,
concurs in part.
I concur in part, in the granting of the appellants’ application for rehearing. Regarding our June 16, 2004 opinion, I agree with our affirming the trial court’s judgment on liability. However, upon reconsideration of the issue of damages, unlike the majority, I would remand the case to the trial court for an expressed categorization of the damages awarded in order to fully address the issue. I believe that where the evidence in the record clearly supports the finding that a lump sum damage award is excessive, as in this case, a remand for the purpose of having the trial court categorize the damages in necessary. Only then can we, the appellate court, give meaningful review to the appellants’ claim that the damages awarded are excessive.
